           Case 1:18-cv-00826-VJW Document 7 Filed 06/29/18 Page 1 of 3




         JJn tbe mtntteb $tates <!Court of jfeberal <!Claims
                                        No. 18-826C
                                   (Filed June 29, 2018)
                                  NOT FOR PUBLICATION

************************
                                          *                            FILED
EDWARD THOMAS KENNEDY,                    *
                                          *                           JUN 2 9 2018
                     Plaintiff,           *                         U.S. COURT OF
                                          *                        FEDERAL CLAIMS
              V.                          *
                                          *
THE UNITED STATES,                        *
                                          *
                     Defendant.           *
                                          ·k

************************

                     MEMORANDUM OPINION AND ORDER

WOLSKI, Judge.

       In this matter brought by Edward Thomas Kennedy, represe nting himself,
Mr. Kennedy complains of injuries apparently suffered apparently incident to his
arrest in Allentown, Pennsylvania. For the reasons state d below, t he Court finds
that it lack subject-matter jurisdiction over plaintiff's claims. Under Rule 12(h)(3)
of the Rules of the United States Court of Federal Claims (RCFC), this action must
be DISMISSED.

                                     I. BACKGROUND

        On June 11, 2018, the Clerk's office received a complaint from plaintiff, alon g
with an application to proceed in forma pauperis. 1 Plaintiff sues over 80 named
entities, including the United States, the United States Postal Service, the
Department of Defen se, the Commonwealth of Pennsylvania, the County of Lehigh ,
as well as a number of bar associations, law firms , in dividuals, and governmental
entities. Compl. if 2. Plaintiff refers to these collectively as "Kidnappers,'' which
appears to be a reference to his arrest in Lehigh County, Pennsylvania on August
28, 2017. S ee id. if if 2, 13. Plaintiff requests relief for t resp ass, id. if if 25- 33,
violation of Art. 4 of the United States Const it ution, id. irir 34-38, and an "action of
t rover" for his "person al property and t r ade secrets,'' id. if if 39- 41.

i   That application is hereby GRANTED.

                                                                  7012 3460 0001 7791 7876
         Case 1:18-cv-00826-VJW Document 7 Filed 06/29/18 Page 2 of 3




                                     II. DISCUSSION

       It is settled law that the allegations found in a complaint prepared by a pro
se plaintiff, "however inartfully pleaded are held to less stringent standards than
formal pleadings drafted by lawyers." Hughes v. Rowe, 449 U.S. 5, 9, 101 S.Ct. 173,
66 L.Ed.2d 163 (1980) (citations omitted). Nevertheless, "although plaintiff is
accorded leniency in presenting his case, his pro se status does not render him
immune from the requirement that he plead facts upon which a valid claim can
rest." Paalan v. United States, 57 Fed. Cl. 15, 16 (2003); see Hughes, 449 U.S. at 10.

A. Legal Standard

       1. Subject-matter Jurisdiction

       Under Rule 12(h)(3), claims brought before this court must be dismissed if
the court determines it lacks subject-matter jurisdiction. When considering
whether subject-matter jurisdiction exists, a court will normally accept as true all
factual allegations made by the pleader and draw all reasonable inferences in the
light most favorable to that party. See Scheuer v. Rhodes, 416 U.S. 232, 236 (1974);
Pixton v. B&B Plastics, Inc., 291 F.3d 1324, 1326 (Fed. Cir. 2002) (holding that on a
motion to dismiss for lack of subject-matter jurisdiction the court views "the alleged
facts in the complaint as true, and ifthe facts reveal any reasonable basis upon
which the non-movant may prevail, dismissal is inappropriate"). A court must first
determine that it has jurisdiction before considering the merits of the case. See
Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 93-95 (1998).

       The Tucker Act, 28 U.S.C. § 1491, does not create substantive rights. Thus,
in order for a plaintiff's claims to be within our jurisdiction, plaintiff must identify a
separate source of law that creates a right to money damages. Jan's Helicopter
Serv., Inc. v. FAA, 525 F.3d 1299, 1306 (Fed. Cir. 2008) (citing Fisher v. United
States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (en bane in relevant part)).

B. Analysis

       The second paragraph of the complaint is a long list of entities plaintiff
wishes to sue, including the Commonwealth of Pennsylvania, several local
governments, and many persons and organizations. Insofar as plaintiff seeks to sue
entities other than the United States or bases his complaint on the actions of
agencies that are not part of the federal government, he misunderstands the nature
of our court's jurisdiction, as the federal government is the only proper defendant in
our court. See Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003). Nor does
the court possess jurisdiction over suits against individual federal officials. See 28
U.S.C. § 1491(a); Brown v. United States, 105 F.3d 621, 624 (Fed. Cir. 1997).



                                           -2-
             Case 1:18-cv-00826-VJW Document 7 Filed 06/29/18 Page 3 of 3
I




            Insofar as he does direct his complaint against the United States (or the
    actions of its agencies), 2 plaintiff fails to identify a proper legal basis for his action.
    Plaintiff appears to argue that the Department of Defense is vicariously liable for
    the actions of local police because it provided them "[t]raining and weapons," Compl.
    iI 12 n. 3, and alleges that "[t]he business model" of the United States Postal Service
    is "based on a foundation of deceptions, lies, and fraud," though h e does not explain
    how t he Postal Service has injured him, id. ir 37. Our court does not have
    jurisdiction over tort claims, such as kidnapping, assault, or fraud, as the Tucker
    Act expressly places within our jurisdiction only matters "not sounding in tort." 28
    U.S.C. § 1491(a)(l). Nor does our court have jurisdiction over criminal claims. See
    Stanwyck v. United States, 127 Fed. Cl. 308, 314 (2016). None of these allegations
    involve violation of a money-mandating provision of federal law or a breach of a
    contract with the federal government.3

           Finally, plaintiff alleges that the United States is in violation of Article 4,
    Section 4 of the United States Constitution by failing to provide a republican form
    of government. Compl. irir 34-38. This provision, h owever, does not state that
    money damages may be awarded if it is violated, and thus cannot provide a basis for
    jurisdiction in our court. U.S. CONST. art. IV, § 4; see 28 U.S.C. § 149l(a); cf. Kurt v.
    United States, 103 Fed. Cl. 384, 388 (2012) (discussing alleged criminal violation).
    Thus, plaintiff fails to state a cognizable claim against the United States falling
    within our jurisdiction.

                                      III. CONCLUSION

          For the reasons stated above, plaintiff's claims do not fall under this court's
    subject-matter jurisdiction. Plaintiff's complaint is therefore DISMISSED
    pursuant to RCFC 12(h)(3). The Clerk shall close the case.

    IT IS SO ORDERED.




    2 The Department of the Treasury is also listed as a defendant, but not elsewhere
    in the complaint. Id. if 2.

    3 The allegation that unspecified personal property and trade secrets were illegally
    taken from plaintiff implicates local officials and a local government, not the United
    States. See Compl. if 40.
                                                -3-
